                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 IN THE MATTER OF THE SEARCH OF
                                                             Case No. 21-MJ-2654
 THE PREMISES AT 1285 SWEET HOME
 ROAD, CUMBERLAND FURNACE,
 TENNESSEE


                                           ORDER

       Upon motion of the United States of America and for good cause shown,

       IT IS ORDERED that the Search Warrant and attachments thereto, Application for Search

Warrant and attachments thereto, and Affidavit in Support of said Search Warrant filed in the

above-styled case and any subsequently filed Return and Inventory shall be unsealed.



____________________________                        January 11, 2021
                                                   ____________________
United States Magistrate Judge                     DATE




     Case 3:21-mj-02654 Document 3 Filed 01/11/21 Page 1 of 1 PageID #: 38
